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 6
     Attorneys for plaintiff
 7
                                 UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
   AUDIO VISUAL SERVICES GROUP, INC.                    Case No..: 2:15-cv-01449-APG-VCF
10 d/b/a PSAV PRESENTATION SERVICES, a
   Delaware Corporation,
11                                                         ORDER FOR RETURN OF CASH
                       Plaintiff,                                  DEPOSIT
12 v.

13 VICTOR CHANG, an individual,

14                          Defendant.
15
            This matter having been dismissed on July 27, 2016,
16
            IT IS HEREBY ORDERED that the cash bond of $2,000, deposited by Hutchison &
17
     Steffen, PLLC, on behalf of plaintiff AUDIO VISUAL SERVICES GROUP, INC. d/b/a PSAV
18
     PRESENTATION SERVICES on July 31, 2015, be returned to Hutchison & Steffen, PLLC,
19
     immediately along with all accrued interest.
20
                            19th 2020.
            DATED: October _____,
21
                                                        ____________________________________
22                                                      ANDREW P. GORDON
23                                                      UNITED STATES DISTRICT JUDGE
     Submitted by:
24
     /s/ Joseph R. Ganley
25
     Joseph R. Ganley (5643)
26   Patricia Lee (8287)
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